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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

DISCOVERY MOTION REQUIREMENTS

THIS ORDER sets forth requirements for the filing of motions
to compel discovery pursuant to Rules 36 and 37 of the Federal Rules of
Civil Procedure.

Former Local Rule 3.04(a) set forth a helpful format to facilitate
resolution of these types of motions, especially when multiple discovery
requests were disputed. In order to streamline the court’s Local Rules, this
rule has been omitted from the updated version. However, because the rule
has been so efficacious, the parties are directed to continue adherence to Rule

3.04(a)’s format when filing in my cases motions to compel under Rule 36
or 37, Fed.R.Civ.P. Specifically:

A motion to compel discovery pursuant to Rule 36
or Rule 37, Fed. R. Civ. P., shall include quotation
in full of each interrogatory, question on
deposition, request for admission, or request for
production to which the motion is addressed; each
of which shall be followed immediately by
quotation in full of the objection and grounds
therefor as stated by the opposing party, or the
answer or response which is asserted to be
insufficient; immediately followed by a statement
of the reason the motion should be granted. The
opposing party shall then respond as required by
Rule 3.01(b).
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The import of this requirement is that the objections and reasons why a
discovery request should be ordered should follow each request. However,
compliance is not required if the motion makes only a general, overall
challenge and does not address specific objections or deficiencies.

IT IS SO ORDERED.

DONE and ORDERED at Tampa, Florida, this 1? day of

THOMAS G. WILSON
UNITED STATES MAGISTRATE JUDGE

February, 2021.

